          Case 8:98-cr-00520-PJM Document 652 Filed 11/20/20 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                          *
                                                   *
         v.                                        *    Crim. No. PJM 98-520
                                                   *
 DUSTIN JOHN HIGGS,                                *
                                                   *
                     Defendant                     *
                                                   *
                                                 ******
                                                NOTICE

        The United States of America, by and through undersigned counsel, hereby notifies the

Court that the Director of the Federal Bureau of Prisons, upon the direction of the Attorney

General and in accordance with 28 C.F.R. Part 26, has scheduled the execution of Dustin John

Higgs for January 15, 2021.

                                                  Respectfully submitted,

                                                  Robert K. Hur
                                                  United States Attorney

                                            By:          /s/
                                                  Sandra Wilkinson
                                                  Assistant United States Attorney
                                                  U.S. Attorney’s Office
                                                    For the District of Maryland
                                                  36 S. Charles St.
                                                  Baltimore, MD 21201
                                                  410-209-4921

                                          Certificate of Service

        I hereby certify that on this 20th day of November, 2020 I caused a true and correct copy of the
foregoing to be emailed to counsel of record for the Defendant.

                                                  __/s/___________________
                                                  Sandra Wilkinson
